FILED: NEW YORK COUNTY CLERK 11/08/2019 09:29 AM                             INDEX NO. 160694/2019
NYSCEF DOC. NO. 9Case 1:20-cv-07311-LAK Document 14-9 Filed 09/15/20 Page 1 of 3NYSCEF: 11/08/2019
                                                                     RECEIVED




                             EXHIBIT C
FILED: NEW YORK COUNTY CLERK 11/08/2019 09:29 AM                             INDEX NO. 160694/2019
NYSCEF DOC. NO. 9Case 1:20-cv-07311-LAK Document 14-9 Filed 09/15/20 Page 2 of 3NYSCEF: 11/08/2019
                                                                     RECEIVED
FILED: NEW YORK COUNTY CLERK 11/08/2019 09:29 AM                             INDEX NO. 160694/2019
NYSCEF DOC. NO. 9Case 1:20-cv-07311-LAK Document 14-9 Filed 09/15/20 Page 3 of 3NYSCEF: 11/08/2019
                                                                     RECEIVED
